          Case 4:19-cv-00872-HSG Document 403 Filed 08/02/23 Page 1 of 1




1
                              UNITED STATES DISTRICT COURT
2                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
3
4
      STATE OF CALIFORNIA, et al.,
5
                            Plaintiffs,
6                                                                    No. 4:19-cv-00872-HSG
             v.                                                      No. 4:20-cv-01563-HSG
7
      JOSEPH R. BIDEN, JR., et al.,
8                                                                   ORDER GRANTING PLAINTIFF
                            Defendants.                             STATE OF WISCONSIN’S
9                                                                   UNOPPOSED MOTION FOR
                                                                    VOLUNTARY DISMISSAL
10    STATE OF CALIFORNIA, et al.,
11
                            Plaintiffs,
12
             v.
13
      JOSEPH R. BIDEN, JR., et al.,
14
                            Defendants.
15
16
17          Upon consideration of Plaintiff State of Wisconsin’s unopposed motion for voluntary
18   dismissal of its claims in the above-captioned cases, and with the court having previously
19   dismissed all other Plaintiffs’ from these cases, it is hereby ORDERED that the above-captioned
20   cases are DISMISSED WITH PREJUDICE in their entirety. Each party shall bear its own costs
21   and attorneys’ fees.
22
23   IT IS SO ORDERED
24
             DATED: 8/2/2023
25                                                            HAYWOOD S. GILLIAM, JR.
                                                              United States District Judge
26
27
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           California v. Biden, 4:19-cv-00872-HSG; 4:20-cv-01563-HSG – Order Dismissing State of Wisconsin

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